     Case 2:17-cv-02539-FMO-SK Document 27 Filed 02/16/18 Page 1 of 1 Page ID #:141



 1

 2
                                                                                    2/16/2018
 3
                                                                                     CW
 4

 5

 6

 7

 8                                      UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10

11    GARY LUNSFORD,                               )   NO. CV 17-2539 FMO (SKx)
                                                   )
12                         Plaintiff,              )
                                                   )
13                  v.                             )   AMENDED ORDER DISMISSING ACTION
                                                   )   WITHOUT PREJUDICE
14                                                 )
      MIKES AUTO WRECKING, et al.,                 )
15                                                 )
                           Defendants.             )
16                                                 )
17           Having been advised by counsel that the above-entitled action has been settled, IT IS
18    ORDERED that the above-captioned action is hereby dismissed without costs and without
19    prejudice to the right, upon good cause shown within 90 days from the filing date of this Order,
20    to re-open the action if settlement is not consummated. The court retains full jurisdiction over this
21    action and this Order shall not prejudice any party to this action.
22    Dated this 16th day of February, 2018.
23

24                                                                          /s/
                                                                     Fernando M. Olguin
25                                                              United States District Judge
26

27

28
